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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION



   GREGORY SCHMIDT,

         Plaintiff,

   v.                                                 CASE NO. 8:22-cv-133-SDM-TGW

   GUIDANCE TAX RELIEF, LLC,

         Defendant.
   __________________________________/


                                              ORDER

         In accord with the parties’ stipulation (Doc. 16), this action is DISMISSED

   WITH PREJUDICE under Rule 41(a)(1)(A)(ii), Federal Rules of Civil Procedure.

   The clerk is directed to close the case.

         ORDERED in Tampa, Florida, on March 25, 2022.
